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                             UNITED STATES DISTRICT COURT
20
                           CENTRAL DISTRICT OF CALIFORNIA
21
     TRENDSETTAH USA, INC. and                   CASE NO. 8:14-cv-01664-JVS-DFM
22   TREND SETTAH, INC.,
                                                 JUDGMENT
23                      Plaintiffs,
24         v.
25   SWISHER INTERNATIONAL, INC.,
26                      Defendant.
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28
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 1         On October 14, 2014, Plaintiffs Trendsettah USA, Inc. and Trend Settah, Inc.
 2   (“Plaintiffs”) initiated this action against Defendant Swisher International, Inc.
 3   (“Defendant”), asserting nine causes of action for (1) violation of Sherman Act, 15
 4   U.S.C. § 2; (2) violation of Florida Antitrust Law, Fl. Stat. § 542.19; (3) Breach of
 5   Contract; (4) Breach of Implied Covenant of Good Faith and Fair Dealing; (5) Trade
 6   Libel; (6) Tortious Interference with Contract; (7) Intentional Interference with
 7   Prospective Economic Relations; (8) Negligent Interference with Prospective Economic
 8   Relations; and (9) California violation of California’s Unfair Competition Law, Cal.
 9   Bus. & Prof. Code § 17200 et seq. Dkt. No. 1.
10         On May 19, 2015, the Court granted in part and denied in part Defendant’s motion
11   for judgment on the pleadings and dismissed Plaintiffs’ claims for negligent interference
12   with prospective economic relations and violation of California’s Unfair Competition
13   Law, Cal. Bus. & Prof. Code § 17200 et seq. Dkt. No. 40.
14         On January 21, 2016, the Court granted in part and denied in part Defendant’s
15   motion for summary judgment. The Court granted summary judgment in Defendant’s
16   favor on Plaintiffs’ claims for trade libel, tortious interference with contract, and
17   intentional interference with prospective economic relations.        The Court denied
18   summary judgment on Plaintiffs’ claims for violation of Section 2 of the Sherman Act,
19   15 U.S.C. § 2, and violation of the Florida Antitrust Law, Fla. Stat. § 542.19. Dkt. No.
20   99.
21         On February 1, 2016, Plaintiffs abandoned their claim for violation of the Florida
22   Antitrust Law, Fla. Stat. § 542.19, in their Memorandum of Contentions of Fact and Law
23   pursuant to Civil Local Rule 16-4.6. Dkt. No. 133, at 13.
24         On February 24, 2016, this Court entered the Final Pretrial Conference Order
25   pursuant to Fed. R. Civ. P. 16, which stated that Plaintiffs plan to pursue claims for
26   violation of 15 U.S.C. § 2 (Count 1); breach of contract (Count 3) and breach of the
27   implied covenant of good faith and fair dealing (Count 4) and that the Final Pretrial
28   Conference Order “shall supersede the pleadings.” Dkt. No. 162, at 7, 32-33. The Final

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               1   Pretrial Conference Order did not include any of Plaintiffs’ other claims, including their
               2   claim for violation of the Florida Antitrust Law, Fla. Stat. § 542.19 Id.
               3         This action came on for trial on March 15, 2016, in Courtroom 10C of the above-
               4   entitled Court, the Honorable James V. Selna, United States District Judge, presiding.
               5   After an eight-day trial and after deliberations, on March 30, 2016, the jury returned a
               6   Special Verdict in favor of Plaintiffs and against Defendant on each of the four causes
               7   of action tried: (1) breach of contract; (2) breach of the covenant of good faith and fair
               8   dealing; (3) violation of Section 2 of the Sherman Act by creating or maintaining a
               9   monopoly through anti-competitive practices; and (4) violation of Section 2 of the
          10       Sherman Act by attempting to create or maintain a monopoly through anti-competitive
          11       practices. On Plaintiffs’ claims for breach of contract and breach of the covenant of
          12       good faith and fair dealing, the jury awarded $9,062,679.00. On Plaintiffs’ claims for
          13       monopoly and attempted monopoly under Section 2 of the Sherman Act, the jury
          14       awarded $14,815,494.00. Dkt. No. 206.
          15             Swisher moved for judgment as a matter of law or, in the alternative, for a new
          16       trial, on May 12, 2016. Dkt. No. 233. On August 17, 2016, the Court granted judgment
          17       in favor of Defendant, and in the alternative, a new trial, on Plaintiffs’ cause of action
          18       for violation of Section 2 of the Sherman Act by creating or maintaining a monopoly
          19       through anti-competitive practices. The Court granted a new trial on Plaintiffs’ cause of
          20       action for violation of Section 2 of the Sherman Act by attempting to create or maintain
          21       a monopoly through anti-competitive practices. Dkt. No. 262.
          22             On October 10, 2016, Defendant filed a motion for reconsideration of the Court’s
          23       August 17, 2016 order denying in part Defendant’s motion for judgment as a matter of
          24       law on Plaintiffs’ Section 2 claims, and for reconsideration of the Court’s January 21,
          25       2016 order denying summary judgment on Plaintiffs’ antitrust claims. Dkt. No. 268.
          26       On November 9, 2016, the Court granted Defendant’s motion for reconsideration of the
          27       Court’s January 21, 2016 order denying summary judgment on Plaintiffs’ antitrust
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               1   claims. The Court granted summary judgment in favor of Defendant on Plaintiffs’
               2   antitrust claims for the reasons set forth in its order of November 9, 2016. Dkt. No. 274.
               3         On December 14, 2016, the Court entered judgment in favor of Plaintiffs and
               4   against Defendant on Plaintiffs’ claims for breach of contract and breach of the implied
               5   covenant of good faith and fair dealing. Dkt. No. 296. The Court entered judgment in
               6   favor of Defendant and against Plaintiffs on all of Plaintiffs’ other claims, including
               7   Plaintiffs’ claims for violation of Section 2 of the Sherman Act, 15 U.S.C. § 2; violation
               8   of the Florida Antitrust Law, Fla. Stat. § 542.19; trade libel; tortious interference with
               9   contract; intentional interference with prospective economic relations; negligent
          10       interference with prospective economic relations; and violation of the California Unfair
          11       Competition Law, Cal. Bus. & Profs. Code § 17200. Id.
          12             On February 8, 2019, the Ninth Circuit Court of Appeals affirmed in part and
          13       reversed in part this Court’s judgment and remanded the case to reinstate the jury’s
          14       verdict in its entirety. Dkt. No. 349.
          15             On July 22, 2019, Defendant moved for relief from judgment under Rule 60(b)(2),
          16       Rule 60(b)(3) and Rule 60(d) of the Federal Rules of Civil Procedure, or in the
          17       alternative, an order for expedited discovery. Dkt. No. 377. On August 19, 2019, the
          18       Court granted Defendant’s motion for relief under Rule 60(b)(2), Rule 60(b)(3) and Rule
          19       60(d) of the Federal Rules of Civil Procedure for the reasons set forth in its order, Dkt.
          20       No. 426, and ordered a new trial, Dkt. No. 427.
          21             On October 5, 2019, Plaintiffs moved for certification for interlocutory appeal of
          22       the Court’s August 19, 2019 order under 28 U.S.C. § 1292(b). Dkt. No. 437. On
          23       November 12, 2019, the Court denied Plaintiffs’ motion for certification. Dkt. No. 458.
          24             On November 11, 2019, Plaintiffs filed a motion for reconsideration of the Court’s
          25       August 19, 2019 order, or in the alternative, for relief under Rule 60(b). Dkt. No. 454.
          26       On November 18, 2019, Defendant moved to amend the Final Pretrial Conference Order
          27       entered on February 24, 2016, Dkt. No. 162, to assert two additional defenses of
          28       Illegality and Fraudulent Inducement. Dkt. No. 463. On January 21, 2020, the Court

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               1   denied Plaintiffs’ motion for reconsideration, or in the alternative, for relief under Rule
               2   60(b) and granted Defendant’s motion to amend the Final Pretrial Conference Order to
               3   assert two additional defenses of Illegality and Fraudulent Inducement. Dkt. No. 483.
               4   The Court sua sponte certified its August 19, 2019 order for interlocutory appeal. Id.
               5         On January 31, 2020, Plaintiffs filed a petition for permission for interlocutory
               6   appeal of the Court’s August 19 order with the Ninth Circuit Court of Appeals. On
               7   February 3, 2020, Plaintiffs filed a motion to assign the case to the prior panel of the
               8   Ninth Circuit that decided the first appeal of this Action. On February 13, 2020, the
               9   prior panel declined to accept the petition, and, on April 23, 2020, the Ninth Circuit
          10       denied Plaintiffs’ petition for permission for interlocutory appeal.
          11             On May 1, 2020, Plaintiffs filed a petition for writ of mandamus with the Ninth
          12       Circuit Court of Appeals for an order directing the reassignment of the Action and
          13       ordering reinstatement of the jury verdict and moved to assign the case to the prior panel.
          14       On May 7, 2020, the prior panel declined to accept Plaintiffs’ petition. On July 21, 2020,
          15       the Ninth Circuit Court of Appeals denied Plaintiffs’ petition for writ of mandamus and
          16       stated that “[n]o further filings will be entertained in this closed case.” Dkt. No. 557-1.
          17             On June 22, 2020, Plaintiffs filed a second motion for relief under Rule 60(b), or
          18       in the alternative, reconsideration of the Court’s August 19, 2019 order. Dkt. No. 514.
          19       On July 31, 2020, the Court denied Plaintiffs’ motion for relief under Rule 60(b), or in
          20       the alternative, for reconsideration. Dkt. No. 561.
          21             On July 7, 2020, Defendant moved to compel discovery from Plaintiffs. Dkt. Nos.
          22       528, 531. On July 29, 2020, Magistrate Judge McCormick granted in part Defendant’s
          23       motions to compel Plaintiffs to produce documents and information responsive to
          24       Defendant’s discovery requests. Dkt. No. 560.
          25             On August 17, 2020, Plaintiffs moved to voluntarily dismiss the Action with
          26       prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, asserting
          27       that they are unable to afford the litigation expenses of discovery or a second trial and
          28       intend to appeal the Court’s orders granting Defendant relief under Rule 60 and denying

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               1   Plaintiffs’ motions for reconsideration. Dkt. No. 565. Defendant disputed Plaintiffs’
               2   inability to afford the litigation expenses of discovery or a second trial, contested the
               3   premise that appellate jurisdiction can be created through voluntary dismissal, and
               4   requested conditions to Plaintiffs’ voluntary dismissal to protect Defendant’s entitlement
               5   to seek costs and attorney’s fees and discovery relating thereto. Dkt. Nos. 574-1 and
               6   585.
               7          On August 21, 2020, Defendant moved for contempt against Plaintiffs for
               8   violation of Magistrate Judge McCormick’s order compelling compliance with
               9   Defendant’s discovery requests. Dkt. No. 572.
          10              On September 16, 2020, the Court granted Plaintiffs’ motion for dismissal under
          11       Rule 41(a)(2) of the Federal Rules of Civil Procedure on terms that the Court found
          12       proper, as set forth in its order. Dkt. No. 591. The Court vacated Defendant’s motion
          13       for contempt without prejudice and stayed pending discovery without prejudice. Id.
          14              The Court NOW ENTERS JUDGMENT AS FOLLOWS:
          15              1.    Judgment is entered in favor of Defendant and against Plaintiffs on all of
          16                    Plaintiffs’ claims, including Plaintiffs’ claims for violation of Section 2 of
          17                    the Sherman Act, 15 U.S.C. § 2; breach of contract; breach of the implied
          18                    covenant of good faith and fair dealing; violation of the Florida Antitrust
          19                    Law, Fla. Stat. § 542.19; trade libel; tortious interference with contract;
          20                    intentional interference with prospective economic relations; negligent
          21                    interference with prospective economic relations; and violation of the
          22                    California Unfair Competition Law, Cal. Bus. & Profs. Code § 17200.
          23              2.    The Court finds that it has not been judicially determined that Swisher is in
          24                    default of its obligations under either of the private label agreements dated
          25                    January 20, 2011 (as amended effective February 1, 2012), and February 2,
          26                    2013, upon which Plaintiffs brought their claims for breach of contract and
          27                    breach of implied covenant of good faith and fair dealing.
          28              3.    Defendant is the prevailing party in this Action and Plaintiffs are not

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               1              entitled to any relief.
               2       4.     As the prevailing party, Defendant shall recover costs allowable under
               3              Federal Rule of Civil Procedure 54(d)(1) and Local Rule 54-3.
               4       5.     Any claim by Defendant for attorney’s fees and related nontaxable
               5              expenses shall be presented by motion.
               6       6.     Plaintiffs may not assert the fact of their voluntary dismissal as a bar to
               7              Defendant’s recovery of costs or attorney’s fees.
               8       7.     The Court shall retain continuing jurisdiction for the reasons and purposes
               9              set forth in this Judgment and the Court’s September 16, 2020, order
          10                  granting Plaintiffs’ motion for dismissal on terms found proper.
          11           8.     The Court acknowledges that Plaintiffs expressly preserve their right to
          12                  appeal the Court’s Rule 60 orders vacating the jury’s verdict and ordering
          13                  a new trial.
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          17           IT IS SO ORDERED.

          18       Dated:   September 28, 2020
                                                                   Hon. James V. Selna
          19
                                                                   United States District Court Judge
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